            IN THE UNITED STATES DISTRICT COURT
         FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                    GREENSBORO DIVISION



Dr. DEIRDRE LEANE,

                 Plaintiff,
                                          Case No: 1:21-cv-00514
    v.

WILLIAM RALPH “BILLY”
CARTER, JR.,

                 Defendant.



           PLAINTIFF’S RESPONSE TO DEFENDANT’S
                    MOTION TO DISMISS




                                   KAMERMAN, UNCYK, SONIKER &
                                       KLEIN P.C.
                                   Akiva M. Cohen, Esq.
                                   Attorneys for Defendants
                                   1700 Broadway, 16th Floor
                                   New York, New York 10019
                                   (212) 400-4930
                                   acohen@kusklaw.com

                                   THE LAW OFFICES OF T. GREG
                                     DOUCETTE PLLC
                                   T. Greg Doucette
                                   North Carolina Bar No. 44351
                                   Local Counsel
                                   311 E. Main Street
                                   Durham, North Carolina 27701
                                   (919) 998-6993
                                   greg@tgdlaw.com




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                             INTRODUCTION

     Plaintiff Deirdre Leane (“Leane”) loaned her former co-

worker and business partner, Defendant Billy Carter (“Carter”)

more than $200,000: money he begged her for, accepted, agreed to

repay, partially repaid, and repeatedly affirmed his obligation

to repay – before defaulting and refusing to repay it. Now that

Ms. Leane has filed suit to recover on the loans, he seeks to

enlist the Court in his attempt to steal the money he borrowed,

arguing that Ms. Leane’s complaint should be dismissed for

failure to state a claim. As shown herein, that argument is as

meritless as it is brazen, and must be rejected.

     Indeed, Defendant’s motion is premised on two fundamental

mistakes. First, Defendant’s motion assumes that North

Carolina’s statute of limitations begins running on the date of

each loan. It does not. As a matter of North Carolina law, the

statute of limitations on loans runs from breach; on oral loans

with no set repayment terms, the statute of limitations does not

begin running until a “reasonable time” for repayment has

passed. And North Carolina law is crystal clear that defining a

“reasonable time” is a fact question that varies from loan to

loan and can only be determined by the jury.

     Second, Defendant entirely inverts the burden on a 12(b)(6)

motion premised on the statute of limitations. Because the



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statute of limitations is an affirmative defense, and plaintiffs

have no burden to plead facts responsive to affirmative

defenses, the Court can only dismiss a complaint as barred by

the statute of limitations if the allegations affirmatively and

conclusively show that the applicable statute forecloses the

claims alleged. Yet, though Carter’s argument is that the bulk

of Ms. Leane’s claims are barred by North Carolina’s three-year

statute of limitations, his motion argues not that the Complaint 1

affirmatively establishes that the claims are time-barred, but

that Ms. Leane did not plead facts allowing for the “clear

inference” that the statute has not run. Dkt. 17 at 9.

        These two errors are fatal, singly or together. As shown in

Point II.A below, Defendant’s motion does not even gesture at

the idea that the Complaint affirmatively pled a date of breach

more than three years in advance of filing, relying entirely on

the loan dates. Directly on-point Fourth Circuit precedent makes

clear that alone is a basis to deny a motion to dismiss premised

on the statute of limitations. And as shown in Point II.B below,

even were that not the case, and even had the limitations period

begun running from the date of the loans, Defendant could not

carry his burden, particularly given that Ms. Leane alleged

Carter’s partial payments on the debt within the limitations


1   Dkt. No. 14.


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period ($5,000 on November 21, 2019 and two $100 payments on

April 21, 2020), which, along with Carter’s repeated

acknowledgement of the debt, which would extend the limitations

period under North Carolina law.

     Because all of the above foreclose dismissal based on the

statute of limitations, Carter’s remaining arguments for

dismissal are moot; the amount in controversy remains above

$75,000 and the Court’s diversity jurisdiction was appropriately

invoked. As such, the motion must be denied in its entirety.

                          STATEMENT OF FACTS

     For purposes of a motion to dismiss, the Court must take as

a given the well-pled facts of the Complaint and view them in

the light most favorable to Plaintiff. Thus, on this motion, the

facts are these:

     Plaintiff and Defendant are former co-workers. Complaint, ¶

6. Beginning in 2014, Carter would periodically borrow funds

from Ms. Leane. Id., ¶ 9. Plaintiff kept track of the loans on a

ledger, attached to the Complaint as Exhibit A, and both parties

intended the loans to be viewed as a connected series of

transactions, rather than as independent transactions. Id., ¶¶

10-11, 14. The parties expected to do continued business with

each other, and the repayment dates of the loans were adjusted

over time. Id., ¶¶ 12-13. Defendant periodically acknowledged



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the amounts due and made partial payments towards that amount.

Id., ¶¶ 15 & 20 & Ex. A. The amount currently due is over

$283,000, id., Ex. A, and Defendant has not made a payment

towards that amount since April 21, 2020. Id.

                               ARGUMENT

I. STANDARD ON A MOTION TO DISMISS BASED ON AN
   AFFIRMATIVE DEFENSE

     A 12(b)(6) motion based on an affirmative defense is

categorically different from a motion to dismiss for failure to

state a claim based on a plaintiff’s failure to plead an

essential element of her claims. On a typical motion to dismiss

for failure to state a claim, it is the Plaintiff's burden to

plead facts sufficient to “provide the ‘grounds’ of [her]

‘entitle[ment] to relief’” by stating a claim that “is plausible

on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 557 &

570 (2007). A claim is plausible when the pleading includes

“factual content that allows the court to draw the reasonable

inference that the defendant is liable for the misconduct

alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). Here, for

instance, Plaintiff’s Complaint alleges claims for action on an

open account, breach of contract, and unjust enrichment, and it

was thus her burden to allege facts sufficient to establish each

element of those claims. Significantly, Defendant does not

challenge (and therefore concedes) that Plaintiff did just that;


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at no point does Defendant suggest that the facts pled do not

give rise to a plausible claim that he is indeed liable on those

counts.

     Instead, Defendant argues that one of his (as-yet unpled)

affirmative defenses, the statute of limitations, bars

Plaintiff’s claim, Dkt. 17 at 5 (Point V(B)(I)), 10 (Point

V(B)(II)), and that this in turn renders the amount in

controversy less than $75,000. Id. at 11 (Point V(C)). Because a

plaintiff has no obligation to plead in the complaint their

responses to a defendant’s potential affirmative defenses, CSX

Transp., Inc. v. Gilkison, 406 Fed. Appx. 723, 728 (4th Cir.

2010) (reversing grant of motion to dismiss on basis of statute

of limitations), the burden on a motion to dismiss based on the

statute of limitations is very different. Rather than it being

the Plaintiff’s burden on this motion to show that she pled

facts sufficient to avoid the statute of limitations, it is

Defendant’s burden to show that the facts pled in the Complaint

conclusively establish that the statute of limitations entirely

bars her claims. Goodman v. Praxair, Inc., 494 F.3d 458, 464

(4th Cir. 2007) (reversing grant of a motion to dismiss based on

the statute of limitations).

     Thus, if there is any uncertainty at all about whether the

statute of limitations will apply – whether because the



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Complaint fails to plead facts necessary to the evaluation of

whether the statute applies, or because the Complaint

affirmatively pleads facts that might, alone or in concert with

other, unpled facts, establish that the claims are not barred by

the statute – the motion may not be granted. Brooks v. City of

Winston-Salem, N.C., 85 F.3d 178, 181 (4th Cir. 1996)

(“Dismissal is inappropriate unless, accepting as true the well-

pleaded facts in the complaint and viewing them in the light

most favorable to the plaintiff, ‘it appears to a certainty that

the plaintiff would be entitled to no relief under any state of

facts which could be proved in support of his claim”). Only if

Plaintiff affirmatively pled facts confirming that her claims

are time barred can the Court dismiss. Richmond, Fredericksburg

& Potomac R. Co. v. Forst, 4 F.3d 244, 250 (4th Cir. 1993) (“In

the limited circumstances where the allegations of the complaint

give rise to an affirmative defense, the defense may be raised

under Rule 12(b)(6), but only if it clearly appears on the face

of the complaint”).

     Despite the different burden on a motion to dismiss

premised on an affirmative defense, the Court’s deference to the

facts pled by Plaintiff remains the same: on this motion to

dismiss, the Court must take as true the well-pled facts of the




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Complaint and afford Plaintiff the benefit of every reasonable

inference therefrom. Brooks, 85 F.3d at 181.

II. THE MOTION MUST BE DENIED BECAUSE THE FACE OF THE
    COMPLAINT DOES NOT CLEARLY ESTABLISH THAT THE CLAIMS
    ARE BARRED BY THE STATUTE OF LIMITATIONS

     The argument that a plaintiff’s claims are barred by a

statute of limitations is an affirmative defense; as such, it

cannot be raised via a motion to dismiss except in “the

relatively rare circumstances where facts sufficient to rule on

an affirmative defense … clearly appear on the face of the

complaint.” Goodman, 494 F.3d at 464 (cleaned up, emphasis in

original). Here, the face of the Complaint does not set out

facts sufficient to rule on Defendant’s statute of limitations

argument, for two reasons. First, because as a matter of North

Carolina law, the statute of limitations applicable to

Plaintiff’s loans does not run from the date of the loans. And

second, because even if the relevant limitations period ran from

the date of the loans, Plaintiff’s Complaint would not

affirmatively establish that it barred her claims. For both

reasons, the motion must be denied.

  A. The Applicable Limitations Period Did Not Run
     From the Date of the Loans

     Defendant’s entire argument is premised on a fundamental

error: that North Carolina’s three-year statute of limitations

ran from the date of Plaintiff’s loans (which, for the most


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part, were made more than three years prior to filing this

action). Dkt. 17 at 7. But that is not North Carolina law.

Rather, as Defendant recognizes, Plaintiff’s claim is for

recovery of money lent to Defendant “pursuant to oral agreements

between the parties,” Dkt. 17 at 1, which incorporated “no

specific repayment terms.” Dkt. 17 at 3. Under North Carolina

law, such loans are payable within a reasonable time. Phillips &

Jordan Inv. Corp. v. Ashblue Co., 86 N.C. App. 186, 188 (N.C.

Ct. App. 1987). See also Metals Corp. v. Weinstein, 236 N.C.

558, 561 (1952); Graves v. O'Connor, 199 N.C. 231, 235 (1930);

Michael v. Foil, 100 N.C. 178, 191 (1888); Helms v. Prikopa, 51

N.C.App. 50 (N.C. Ct. App. 1981). Accordingly, the agreement is

not breached (and the statute of limitations therefore does not

begin to run) until a reasonable time for repayment has passed.

Phillips & Jordan, 86 N.C. App. at 188 (“In essence, a party has

a reasonable time period plus three years in which to bring the

action before it is barred by the statute of limitations”). The

determination of what constitutes a reasonable time for

repayment requires “taking into account the purposes the parties

intended to accomplish,” Rawls v. Lampert, 58 N.C. App. 399, 400

(N.C. Ct. App. 1982), and may involve considering the conduct of

the parties during the time the loan is outstanding, Bohn v.

Black, No. 17 CVS 228, 2019 WL 2341351, at *12 (N.C. Super. June



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3, 2019). It thus involves a mixed question of fact and law, and

as such, must be referred to the jury. Rawls, 58 N.C. App. at

401 (applying that rule to a 20-year delay in seeking

repayment). To dramatically understate it, Defendant cannot

carry the burden of a motion to dismiss here.

     Indeed, even without that rule, Defendant could not succeed

on a motion to dismiss, because the statute of limitations

period runs from breach, and the Complaint does not specifically

plead a date on which Defendant breached the agreement to repay

Plaintiff. That, of course was exactly the basis on which the

Fourth Circuit reversed the statute of limitations dismissal in

Goodman. Goodman, 494 F.3d at 466 (“there are no allegations

sufficient to determine when the obligation to pay arose or when

Tracer Research could be deemed to have refused to make payment.

The most the complaint says is that at some unspecified time

after December 19, 2000, Tracer Research ‘failed and refused’ to

pay, breaching the contract. Accordingly, we conclude that the

face of the complaint does not allege facts sufficiently clear

to conclude that the statute of limitations had run …”). 2



2 The identical analysis applies to Plaintiff’s unjust enrichment claims,
which Defendant acknowledges would have accrued “when the wrong is complete.”
Dkt. 17 at 10. The wrong alleged was not Defendant’s receipt of the loans but
his refusal to repay them. Complaint at ¶ 16. Yet Defendant’s entire argument
is based on the dates “all but the final two alleged loan payments were
provided to Defendant.” Dkt. 17 at 10 (emphasis added). Because that would
not be the accrual date for any of Plaintiff’s claims, those dates are


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     Similarly, on Plaintiff’s claim for action on an open

account, Defendant’s brief itself establishes that the motion

must be denied. Defendant cites Hollingsworth v. Allen, 97 S.E.

625, 626 (N.C. 1918) for the proposition that, on a non-mutual

open account, the statute of limitations runs from the date of

each item “unless there has been a payment within the statutory

period.” Dkt. 17 at 6 (emphasis added), quoting Hollingsworth. 3

Defendant does not suggest that the Complaint affirmatively

alleges that the account was not mutual; rather, Defendant

argues that the Complaint does not affirmatively allege that the

account was mutual. Dkt. 17 at 7 (“Plaintiff in this action has

alleged an account containing only credit on one side and

payments on the other …”). As the Fourth Circuit explained in

Goodman, however, Plaintiff had no burden to allege facts beyond

the elements of her affirmative claims in order to pre-refute a

not-yet-pled affirmative defense. 494 F.3d at 466 (“To require

otherwise would require a plaintiff to plead affirmatively in

his complaint matters that might be responsive to affirmative



irrelevant to the analysis, and the Complaint does not make clear on its face
that the statute of limitations bars the unjust enrichment claim.
3 Defendant appears to misread Hollingsworth and N.C.G.S. § 1-31, which

address actions on a mutual open account, and provide that the statute begins
to run on every party’s claims whenever either party last provided an item.
N.C.G.S. § 1-31 (“from the time of the latest item proved in the account on
either side”). That statute merely provides that where an account is mutual,
either party can take advantage of the latest loan or payment by either
party, rather than being limited to their own latest loan or their
counterparty’s latest payment, as on a non-mutual open account.


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defenses even before the affirmative defenses are raised. Of

course, no such pleading is required …”). In any event the

Complaint specifically alleges that there was a “payment within

the statutory period”: “the last transaction between the

parties, a partial repayment made by Defendant to Plaintiff on

21 April 2020.” Dkt. 17 at 9, quoting Complaint, ¶ 20. Thus,

under Hollingsworth, Plaintiff’s action is timely regardless of

whether the open account was mutual.

  B. Even If the Limitations Period Ran From The Loan Dates, the
     Complaint Does Not Clearly Allege Facts Establishing the
     Claim is Time Barred

     Finally, even were none of the above an issue, as a matter

of North Carolina law a partial repayment restarts the

limitations period governing Plaintiff’s claims, Wells v.

Barefoot, 55 N.C. App. 562, 566 (N.C. Ct. App. 1982), and

Plaintiff indisputably alleged a partial repayment in 2020, well

within the limitations period. Complaint, ¶ 20. Plaintiff also

pled that Defendant acknowledged the debt in 2017, continued

borrowing in 2019 after that acknowledgement, and then re-

acknowledged the existence of the debt in 2020. Id., ¶¶ 15, 20.

As an initial matter, those facts would be more than sufficient

to allow a jury to find a “clear inference” that “Defendant

recognized the debt, and acknowledged his willingness, or at

minimum, his obligation, to pay the balance,” which is all North



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Carolina law requires. Whitley’s Elec. Svc., Inc. v. Sherrod,

238 S.E.2d 607, 612 (N.C. 1977). But even if Plaintiff would

require more to sustain a judgment in her favor on summary

judgment or at trial, at this pleading stage the only relevant

question is whether the Complaint on its face establishes that

Plaintiff could not under any circumstances overcome the

affirmative defense of the statute of limitations. Feltman v.

City of Wilson, 238 N.C. App. 246, 251 (N.C. Ct. App. 2014).

Defendant’s eventual argument that his texts and letters were

not indicators that he recognized the debt, or that his partial

payments were somehow made with an undisclosed intent to dispute

the debt, is an issue for discovery (and, eventually, a fact

question for the jury). At this pleading stage, however, the

Court must draw the reasonable inference that Defendant’s

partial repayment was made in recognition of his obligation on

the debt. As such, the Complaint does not clearly allege facts

showing that North Carolina’s statute of limitations would

indisputably bar the claim. As such, the motion must be denied. 4

III. THERE IS NO BASIS TO CHALLENGE DIVERSITY JURISDICTION

      Defendant’s sole basis for attacking the Court’s diversity

jurisdiction is the argument that, if the Court finds that the


4 If the Court does find that Plaintiff’s claims are time-barred, Plaintiff
respectfully requests leave to amend her complaint to, among other things,
include a claim for constructive fraud.


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bulk of the claims are time-barred, the amount in controversy

would be less than $75,000. Dkt. 17 at 11-13. Because the

statute of limitations does not bar any of Plaintiff’s claims,

and in any event cannot support dismissal of those claims at

this stage, this argument is moot.

                              CONCLUSION

     For the reasons set forth above, the motion should be

denied in its entirety.



                    CERTIFICATION OF WORD COUNT

     Pursuant to Local Rule 7.3(d)(1), the undersigned hereby

certifies that the body of the above brief, including headings

and footnotes, does not exceed 6,250 words.

     Respectfully Submitted,
This the 4th day of January, 2022.

                  [Signatures on Following Page]




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                                    Kamerman, Uncyk, Soniker &
                                      Klein P.C.
                                      /s/ Akiva M. Cohen
                                    Akiva M. Cohen
                                    Attorney for Defendants
                                    1700 Broadway
                                    New York, New York 10019
                                    (212) 400-4930
                                    acohen@kusklaw.com



                                    The Law Offices of T. Greg
                                      Doucette PLLC
                                      /s/ T. Greg Doucette
                                    T. Greg Doucette
                                    North Carolina Bar No. 44351
                                    Local Counsel
                                    311 E. Main Street
                                    Durham, North Carolina 27701-
                                      3717
                                    (919) 998-6993
                                    greg@tgdlaw.com




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                       CERTIFICATE OF SERVICE

     The undersigned hereby certifies that this day he served a
copy of the foregoing document on counsel of record by
electronically filing same via the ECF System, which will send
notice to all counsel of record as follows:


     Ben E. Klein
     NC Bar No. 40993
     Email: ben@sklawnc.com

     Grant Sigmon
     NC Bar No. 43205
     Email: grant@sklawnc.com

     114 N. Elm St., Ste. 210
     Greensboro, NC 27401
     Telephone: 336-663-8773
     Facsimile: 336-663-8777

     This the 4th day of January, 2022.


                                    KAMERMAN, UNCYK, SONIKER &
                                        KLEIN P.C.
                                    Akiva M. Cohen, Esq.
                                    Attorneys for Defendants
                                    1700 Broadway, 16th Floor
                                    New York, New York 10019
                                    (212) 400-4930
                                    acohen@kusklaw.com

                                    THE LAW OFFICES OF T. GREG
                                      DOUCETTE PLLC
                                    T. Greg Doucette
                                    North Carolina Bar No. 44351
                                    Local Counsel
                                    311 E. Main Street
                                    Durham, North Carolina 27701
                                    (919) 998-6993
                                    greg@tgdlaw.com



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